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13                           UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15    BACKGRID USA, INC., a California         Case No.: 2:21-cv-08874-JAK-KS
      corporation,                             Hon. John A. Kronstadt
16
17                    Plaintiff,               JOINT REQUEST FOR RULING
                                               REGARDING DEFENDANT’S
18           v.                                MOTION TO DISMISS FOR
19                                             LACK OF PERSONAL
      AUDACY, INC., a Pennsylvania
      corporation; and DOES 1-10, inclusive,   JURISDICTION
20
21                                             Complaint Filed: November 10, 2021
                      Defendants.
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       JOINT REQUEST FOR RULING REGARDING DEFENDANT’S MOTION TO DISMISS FOR
                           LACK OF PERSONAL JURISDICTION
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  1         Whereas the Court heard Defendant Audacy, Inc.’s motion to dismiss on
  2   September 26, 2022.
  3         Whereas, the Court ordered that the parties engage in limited discovery and
  4   submit joint statements on their positions after discovery per the Court’s
  5   November 9, 2022 Order (Dkt. 36), which was modified by the Court’s
  6   November 29, 2022 Order (Dkt. 38). The Parties provided their supplemental
  7   briefs pursuant to the November 29, 2022 Order. Plaintiff filed a brief on
  8   December 30, 2022; Defendant filed a response brief on January 9, 2023.
  9         Whereas the Court has not issued its order on Defendant’s motion to
10    dismiss for lack of personal jurisdiction.
11          Pursuant to Local Rule 83-9.2, the Parties jointly request that the Court
12    make a decision on this motion without further delay. As required by the Local
13    Rules, a copy of this request has been sent to the Chief Judge by mail.
14
15    Dated: June 13, 2023                    ONE LLP
16
17                                            By:        /s/ Joanna Ardalan
                                                       Joanna Ardalan
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                                                       Peter R. Afrasiabi
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                                                       Attorneys for Plaintiff,
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                                                       Backgrid USA, Inc.
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      Dated: June 13, 2023                    BALLARD SPAHR LLP
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24
                                              By:        /s/ Thomas B. Sullivan
25                                                       Elizabeth L Schilken
                                                         Thomas B. Sullivan (Pro Hac Vice)
26
27                                                       Attorneys for Defendant,
                                                         Audacy, Inc.
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         JOINT REQUEST FOR RULING REGARDING DEFENDANT’S MOTION TO DISMISS
                         FOR LACK OF PERSONAL JURISDICTION
